Case 19-12567-pmm                          Doc       Filed 03/12/24 Entered 03/12/24 09:43:43                                 Desc Main
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  Fill in this information to identify the case:

Debtor 1              Kathy L. Rihl

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the: Eastern District of Pennsylvania

Case Number 19-12567




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                  12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of Creditor: PNC Bank, N.A.                                      Court claim no. (if known): 17

Last four digits of any number you                                    Date of payment change:
use to identify the debtor’s account: 8620                        Must be at least 21 days after date            04/05/2024
                                                                  of this notice

                                                                       New total payment:                        $822.84
                                                                       Principal, interest, and escrow, if any

Part 1:         Escrow Account Payment Adjustment

1. Will there be a change in the debtor's escrow account payment?
      No
      Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law.
            Describe the basis for the change. If a statement is not attached, explain why:__________________________
            ________________________________________________________________________________________

                  Current escrow payment: $_________________                           New escrow payment: $_________________


 Part 2:        Mortgage Payment Adjustment

2. Will the debtor's principal and interest payment based on an adjustment to the interest rate in the debtor's variable-rate
   note?
      No
      Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice
             is not attached, explain why:
             ____________________________________________________________________________________________

                  Current interest rate:                                                    New interest rate:
                  Current principal and interest payment:                                   New principal and interest payment:


 Part 3:         Other Payment Change

3. Will there be a change in the debtor's mortgage payment for a reason not listed above?
      No
      Yes. Attach a copy of any documents describing the basis for the change, such as repayment plan or loan modification
            agreement. (Court approval may be required before the payment change can take effect.)

                  Reason for change: Daily Simple Interest Accrual for Billing Period

                 Current mortgage payment: 865.91                                  New mortgage payment: 822.84



Official Form 410S1                                      Notice of Mortgage Payment Change                                         page 1
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                                                           Document      Page 2 of 3


Debtor 1       Kathy L. Rihl                                                    Case number (if known) 19-12567
               First Name               Middle Name        Last Name



     Part 3:      Sign Here


    The person completing this Notice must sign it. Sign and print your name and your title, if any, and state
    your address and telephone number.

    Check the appropriate box.

               I am the creditor.

.              I am the creditor’s authorized agent.


    I declare under penalty of perjury that the information provided in this Notice is true and correct to the best
    of my knowledge, information, and reasonable belief.



    X /s/ Vicki Pringle                                                                  Date 03/12/2024
             Signature




    Print:        Vicki Pringle                                               Title:   Support Specialist


Company           PNC Bank, National Association

Address:          P.O. Box 94982
                  Number       Street


                  Cleveland, OH 44101-0570
                  City             State        ZIP Code


Contact Phone: 1-800-642-6323 Ext.                                                        Email:Bankruptcy.administration.internal@pnc.com




Official Form 410S1                                            Notice of Mortgage Payment Change                                   page 2
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                             UNITED STATES BANKRUPTCY COURT
                                Eastern District of Pennsylvania
                                        (Philadelphia)

 IN RE: Kathy L. Rihl                              Case No. 19-12567
                                                   Judge Patricia M. Mayer
                                                   Chapter 13



                                 CERTIFICATE OF SERVICE OF
                             Notice of Mortgage Payment Change

       I, the undersigned, hereby certify that, on March 12, 2024, a true and correct
copy of the Notice of Mortgage Payment Change was electronically served upon the
following using the Court’s CM/ECF system:

       Debtor’s Attorney: Paul H. Young
       Trustee: Kenneth E. West
       Office of the United States Trustee

       Further, I certify that, on March 12, 2024, a true and correct copy of the
Notice of Mortgage Payment Change was forwarded via U.S. Mail, first class
postage prepaid and properly addressed, to the following at the address shown below:

        Kathy L. Rihl                  3083 Dorchester Street Furlong, PA 18925




                                                           By: /s/ Vicki Pringle
                                                           Vicki Pringle
                                                           PNC Bank, N.A.
                                                           PO Box 94982
                                                           Cleveland OH 44101
                                                           855-245-3814
